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                                                                                              FILED
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division                                  OCT -2 2020

                                                                                      CLERK, US. DISTRICT COURT
                                                                                             NORFOLK. VA
 UNITED STATES OF AMERICA,


 V,                                                  CRIMINAL ACTION NO.2:18crl94

 ERIC BRIAN BROWN,

               Defendant.


                           MEMORANDUM OPINION AND ORDER

        Before the Court is the United States Court of Appeals for the Fourth Circuit's ("Fourth

 Circuit") remand of the Court's December 23, 2019 Order pursuant to Sell v. United States, 539

 U.S. 166 (2003) (the ''Sell Order") concerning Defendant Eric Brian Brown's ("Defendant")

 competency to stand trial. ECF Nos. 134 and 135. On September 9, 2020, the Court ordered the

 parties to file supplemental memoranda regarding Defendant's medical state. ECF No. 137. The

 Court then held a status conference and considered the parties' filings on the matter. For the

 reasons stated below, the Court's Sell Order is VACATED.Pursuant to 18 U.S.C. §4241(d), the

 Attorney General is ORDERED, within 30 days, to determine whether certifications under 18

 U.S.C. §§ 4246(a) and 4248(a) are to be filed with the United States District Court for the Eastem

 District of North Carolina.


                        I. FACTUAL AND PROCEDURAL HISTORY


        Defendant is charged with Count 1, Kidnapping Resulting in Death, in violation of 18

 U.S.C. § 1201(a)(1) and (2); Count 2, Assault with Intent to Commit Aggravated Sexual Abuse

 and Sexual Abuse, in violation of 18 U.S.C. § 113(a)(1); Count 3, Assault with Intent to Commit

 a Felony,in violation of 18 U.S.C. 113(a)(2); Count 4, Assault Resulting in Serious Bodily Injury,
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